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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


                                  )
UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        3:09cr167-MHT
COREY KENTAVIOUS                  )             (WO)
McCULLOUGH, EARL KELLEY           )
McCULLOUGH, and MARIO             )
CHANTIE McCULLOUGH                )


                        OPINION AND ORDER

    This cause is before the court on motions to continue

filed by defendants Corey Kentavious McCullough, Earl

Kelley McCullough, and Mario Chantie McCullough.               For the

reasons   set   forth    below,    the    court   finds     that   jury

selection and trial, now set for January 19, 2010, should

be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:
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           “In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs.”

18 U.S.C. § 3161(c)(1).                  The Act excludes from the 70-

day period any continuance based on "findings that the

ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy

trial."          §    3161(h)(7)(A).               In    granting       such    a

continuance,         the    court       shall    consider,          among   other

factors, whether the failure to grant the continuance

would     “result           in      a     miscarriage          of      justice,”

§   3161(h)(7)(B)(i),             or    "would   deny        counsel    for    the

defendant     or      the        attorney    for    the       Government       the

reasonable       time      necessary      for    effective          preparation,

taking    into       account      the    exercise       of   due    diligence."

§ 3161(h)(7)(B)(iv).

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    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and each the McCullough defendants

in a speedy trial.      Each has represented through counsel,

either in his motion for continuance or orally in a

conference with the court, that he is actively involved

in plea negotiations and does not believe the parties

will be able to resolve the case prior to the scheduled

trial date of January 19, 2010.          For each defendant, said

negotiations involve the proffer of information to the

government by that defendant.           Each defendant’s counsel

claims   that   the    nature    and    extent    of   his    client’s

cooperation     is    relevant    to   the    terms    of    any   plea

agreement and that said cooperation cannot adequately be

received, investigated, and evaluated by the government

by the scheduled trial date.            For each defendant, the

government agrees with defense counsel’s assessment of

the on-going plea negotiations.

    Accordingly, it is ORDERED as follows:



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    (1) The motions to continue (doc. nos. 47, 49, and

50) filed by defendants Corey Kentavious McCullough,

Earl Kelley McCullough, and Mario Chantie McCullough are

granted.

    (2) The jury selection and trial are continued to

April 12, 2010, at 10:00 a.m. at the Federal Courthouse

in Opelika, Alabama.

    DONE, this the 5th day of January, 2010.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
